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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY




   NEWMARKET PHARMACEUTICALS, LLC, a Delaware
   limited liability company,
                                        Plaintiff,                         Civil Action No.:
                                                                       I 7-cv-0 I 852-MAS-TJB
                           V.                                    I
                                                                 )
                                                                 )
   VETPHARM, iNC., a New York corporation;                       )
   DENNI 0. DAY, an individual; and
   PRELUDE DYNAMICS, LLC, a Texas limited liability              )
   company.                                                      )
                                       Defendants.
                                                                 )                   N




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                         WROTOEDf ORDER GRANTING MOTION TO SEAL

            THIS MATTER having been opened to the Court by Plaintiff NewMarket

   Pharmaceuticals, LLC (“NewMarket”), by and through their attorneys, in connection with

   NewMarket’s Motion to Seal, pursuant to Local Civil Rule 5.3(c), Documents Submitted in

   Connection With Their Application for an Order to Show Cause why a Temporary Restraining

   Order and a Preliminary Injunction Should not Enter, filed with the Court on March 22, 2017;

   and the Court having considered the papers submitted by NewMarket in support of the within

   Motion; and papers submitted by Defendants in opposition thereto, if any; and the Court having

   considered and adopted the Declaration of Bryan P. Couch and the Findings of fact and

   Conclusions of Law submitted by NewMarket in support of the within Motion; and the Court

   having further found that the standards of Local Civil Rule 5.3(c)(3) have been met and support

   the sealing of the foregoing Confidential documents and information; and the Court having




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   considered oral argument of the parties, if any; and for the reasons set forth in the record of the

   proceedings, and for other and good cause having been shown,

           IT IS on this 2 day of March 2017;

           ORDERED that NewMarket’s Motion pursuant to Local Civil Rule 5.3(c) to Seal the

   subject documents and information is hereby granted; and it is further

           ORDERED that the following shall be seated:


                    •       Portions of Plaintiff’s Memorandum of Law in Support of Its Emergency
                            Application for an Order to Show Cause why a Temporary Restraining
                            Order and a Preliminary Injunction Should not Enter and portions of
                            exhibits attached thereto, including the Master Services Agreement and
                            the Treatment Addenda.

                    •       Declaration of Mark Ridall in Support of NewMarket’s Motion for a
                            Temporary Restraining Order and Pre’iminary Injunction.

          vkq
   Dated: March         ,   2017



                                                         UNITED STATES DISTRICT JUDGE

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